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                           UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                       ORLANDO DIVISION

 WALTER STRATTON BAGG and
 COOPER LAW, P.A.,

                         Plaintiffs,

 v.                                                          Case No: 6:15-cv-1666-Orl-37GJK

 USHEALTH GROUP, INC. and
 USHEALTH ADVISORS, LLC,

                         Defendants.



                                              ORDER
           This cause came on for consideration without oral argument on the following motion filed

 herein:

           MOTION:       PLAINTIFFS’ LIMITED MOTION TO COMPEL (Doc. No.
                         61)

           FILED:        June 10, 2016



           THEREON it is ORDERED that the motion is GRANTED IN PART AND
           DENIED IN PART.

 I.        BACKGROUND.

           On October 5, 2015, Plaintiffs filed a putative class action complaint (the “Complaint”)

 against USHealth Group, Inc. (“USH Group”) and USHealth Advisors, LLC (“USH Advisors”)

 (collectively, the “Defendants”), alleging the Defendants violated certain provisions of the

 Telephone Consumer Protection Act, as amended by the Junk Facsimile Act of 2005, 47 U.S.C §

 227 (the “TCPA”). Doc. No. 1. More specifically, Plaintiffs allege that the Defendants violated
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 47 U.S.C. § (b)(1)(C)(iii) and 47 C.F.R. § 64.1200(a)(4)(iii) – (iv), by knowingly and willfully

 “causing the transmission of facsimile advertisements to Plaintiffs and [other members of the

 putative class] that failed to contain the requisite opt-out notice.” Doc. No. 1 at ¶¶ 27, 29.

 Plaintiffs attach to the Complaint a facsimile they received on January 27, 2015 (the “Facsimile”),

 which identifies Birsen Goksu as the individual from USH Advisors soliciting business. Doc. No.

 1-1. Although the Complaint does not identify any other facsimile, Plaintiffs allege that “[u]pon

 information and belief, Defendants sent similar facsimile advertisements without opt-out notices

 to the telephone facsimile machines of other persons and entities.” Doc. No. 1 at ¶ 15. Plaintiffs

 define the putative nationwide class as:

                All persons and entities in the United States who were sent one or
                more facsimiles to a telephone facsimile machine after September
                30, 2011, advertising Defendants’ products and/or services, where
                the advertisement failed to contain an opt out notice required by 47
                C.F.R. § 64.1200(a)(4).

 Doc. No. 1 at ¶ 18. Plaintiffs request $1,500.00 in statutory damages for each such facsimile,

 which were knowingly and willfully sent to a class member by Defendants or, in the alternative,

 $500.00 in statutory damages for each facsimile, which were negligently sent by Defendants to

 putative class members. Doc. No. 1 at ¶¶ 29-30.

        On or about February 25, 2015, Ms. Goksu, the individual identified on the Facsimile,

 answered five questions by electronic mail.      Doc. No. 61-5 at 1-2.      Ms. Goksu states the

 following: (1) she created the Facsimile completely on her own in order to market herself; (2) no

 one approved the flyer used in the Facsimile; (3) she did not know that sending the Facsimile was

 unlawful; (4) she found a company, Fax87.com, to send the faxes by doing Google searches; (5)

 she found the names and fax numbers of local business by using Manta.com; (6) she provided the

 fax numbers of local businesses to Fax87.com, who then sent the Facsimile to those businesses;



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 and (7) she did not have an established business relationship with the entities who were sent the

 Facsimile. Doc. No. 61-5 at 1-2.

        On or about February 16, 2016, Plaintiffs deposed Ms. Goksu. Doc. No. 69-1 at 19-63.

 Ms. Goksu testified as follows: (1) she created the Facsimile at issue completely on her own; (2)

 no one else created other facsimiles or used them for solicitation; (3) no one from USH Advisors

 recommended or gave Ms. Goksu the idea to send facsimile solicitations; (4) she told Jim

 Hmielewski, one of Ms. Goksu’s managers, about her idea to fax out solicitations before she

 created the Facsimile; (5) no one approved of or even viewed the Facsimile before Ms. Goksu sent

 it; (6) she found prospective business’s fax numbers on Manta.com and then copied them to her

 account at Fax87.com, which then faxed the Facsimile to the businesses; (7) while she is uncertain

 about the precise number, Ms. Goksu believes she may have sent the Facsimile approximately 30

 times to different entities; and (8) she stopped sending out the Facsimile within two (2) weeks

 because USH Advisors received a complaint about unsolicited fax solicitations. Doc. No. 69-1 at

 24, 26, 29-30, 34, 36-38, 40-41.

        On March 20, 2016, Ms. Goksu provided an affidavit stating: (1) she was employed by

 USH Advisors from November 8, 2013 to November 21, 2015; (2) in January of 2015 she met

 with Jim Hmielewski to discuss her idea to send unsolicited facsimile advertisements to

 prospective customers; and (3) Mr. Hmielewski “gave his consent to [Ms. Goksu] to fax the

 [Facsimile] to prospective customers.” Doc. No. 61-4 at 1. Thus, Ms. Goksu’s deposition

 testimony, stating that no one from USH Advisors reviewed or approved the sending of the

 Facsimile is inconsistent with her affidavit, which states that Mr. Hmielewski approved sending

 the Facsimile to prospective customers.




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           On January 8, 2016, Plaintiffs served USH Advisors with Plaintiffs’ First Set of

 Interrogatories (Doc. No. 61-2 at 1-12) and Plaintiffs’ First Request for Production (Doc. No. 61-

 2 at 13-20). On March 7, 2016, Plaintiffs served USH Advisors with Plaintiffs’ Second Set of

 Interrogatories (Doc. No. 61-2 at 21-33) and Plaintiffs’ Second Request for Production (Doc. No.

 61-2 at 34-40. On February 12, 2016, USH Advisors served Plaintiffs with its Unverified

 Answers to Plaintiffs’ First Set of Interrogatories. Doc. No. 61-1 at 1-3. On April 8, 2016, USH

 Advisors served Plaintiffs with its Third Amended and Supplemental Response to Plaintiffs’ First

 Request for Production. Doc. No. 61-1 at 4-8. On April 8, 2016, USH Advisors also served

 Plaintiffs with its Unverified Answers to Plaintiffs’ Second Set of Interrogatories (Doc. No. 61-1

 at 9-17) and its Response to Plaintiff’s Second Request for Production (Doc. No. 61-1 at 18-21).

           On January 21, 2016, Plaintiffs served USH Group with Plaintiffs’ First Set of

 Interrogatories (Doc. No. 61-2 at 41-53) and Plaintiffs’ First Request for Production (Doc. No. 61-

 2 at 54-62). On February 29, 2016, USH Group served Plaintiffs with its Unverified Answers to

 Plaintiffs’ First Set of Interrogatories (Doc. No. 61-1 at 22-26) and its Responses to Plaintiffs’

 First Request for Production (Doc. No. 61-1 at 27-37).

           As set forth above, regardless of the objections raised and answers provided, the

 Defendants’ responses to Plaintiffs’ interrogatories were all unverified. Doc. No. 61-1 at 1-3, 9-

 17, 22-26.     With respect to Plaintiffs’ requests for production, Defendants raised various

 objections to some requests and then generally stated either that Plaintiffs already possess the

 responsive documents at issue or no responsive documents exist. Doc. No. 61-1 at 4-6, 18-19,

 27, 29.

           On May 13, 2016, Plaintiffs filed a one-hundred and one (101) page Omnibus Motion to

 Compel (the “Omnibus Motion”). Doc. No. 55. In it, Plaintiffs raised issues with virtually all



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 written discovery requests, but Plaintiffs’ request for relief was unclear. Id.; see also Doc. No. 57

 at 2-3 (explaining same). On May 19, 2016, the Court entered an order denying the Omnibus

 Motion and directing the parties to meet and confer in a good faith effort to resolve or narrow the

 issues regarding Plaintiffs’ written discovery requests. Doc. No. 57 at 3-4.

        On June 10, 2016, Plaintiffs filed a Limited Motion to Compel (the “Motion”). Doc. No.

 61. In it, Plaintiffs argue the Defendants’ respective objections and responses to the following

 nine (9) discovery requests should be overruled and/or deemed insufficient: Plaintiffs’ First Set of

 Interrogatories to USH Advisors Nos. 6 and 7; Plaintiffs’ First Request for Production to USH

 Advisors Nos. 3-4, 12; Plaintiffs’ Second Request for Production to USH Advisors No. 2;

 Plaintiffs’ First Set of Interrogatories to USH Group No. 3; and Plaintiffs’ First Request for

 Production to USH Group Nos. 3 and 9. Doc. No. 61 at 16-20. Plaintiffs repeatedly maintain,

 in conclusory fashion, that Defendants failed and/or refused to undertake any search for responsive

 documents and answers within Defendants’ possession, custody or control. Doc. No. 61 at 2, 7,

 12-13. Based on Defendants’ alleged failure to marshal all responsive documents and obtain

 responsive answers in their possession, custody or control, Plaintiffs request that the Court enter

 an order compelling Defendants to do the following:

                (1) Search the company email records of their employees, agents,
                and contractors to discover communications between their
                employees, agents and/or contractors and third-party fax
                broadcasters . . . and produce such documents that relate or refer to
                the transmission of fax advertisements; (2) conduct a reasonable and
                thorough inquiry to determine whether fax advertising was engaged
                in by any other of Defendants’ employees, agents and/or
                contractors, which should include, at minimum, contacting each
                employee, agent, and contractor by email or phone to ask each
                whether they ever engaged in fax advertising; (3) describe with
                particularity the process and results of the investigations; (4) amend
                their responses to the nine discovery requests referenced in the
                Motion after engaging in the activities described above; (5) grant
                Plaintiffs’ their reasonable attorneys’ fees and costs incurred in


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                    relation to this Motion; and (6) grant all such other relief as this
                    Court deems proper.

 Doc. No. 61 at 20-21. Thus, Plaintiffs’ requests for relief, quoted above, seek to have Defendants

 undertake particular investigatory steps, provide Plaintiffs with a detailed report regarding same,

 and thereafter serve amended responses to the nine (9) written discovery requests at issue in the

 Motion. Id.

           On July 1, 2016, Defendants filed a response (the “Response”). Doc. No. 69. In it,

 Defendants state that, on July 1, 2016, they served Plaintiffs with verified answers to Plaintiffs’

 interrogatories.       Doc. No. 69 at n.1. 1           Defendants maintain they conducted a thorough

 investigation for responsive information and documents, and they have fully responded to

 Plaintiffs’ written discovery requests. Doc. No. 69 at 2-17. Defendants further contend that

 Plaintiffs lack a factual basis for their following allegations: (1) that Defendants refused to perform

 a reasonable and thorough investigation for responsive documents and information; (2) suggesting

 that anyone other than Ms. Goksu sent unsolicited facsimile advertisements; and (3) suggesting

 that anyone outside of Florida sent unsolicited facsimile advertisements. Doc. No. 69 at 8.

           Defendants argue that Plaintiffs’ mere suspicion that other unsolicited facsimiles may have

 been sent is not a basis for finding that the Defendants’ answers and responses are untruthful or

 that they failed to conduct a reasonable search for responsive documents and information. Doc.

 No. 69 at 9. Defendants unequivocally state that their “investigation revealed, among other

 things, there were no ‘facsimiles’ or ‘other facsimiles’ (as defined in Plaintiffs’ discovery requests)

 reasonably within the Defendants’ custody, possession, control outside of the lone [Facsimile]




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     Defendants’ verified answers are not attached to the Defendants’ Response.


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 attached . . . to the Complaint.” Doc. No. 69 at 11.2             Finally, Defendants argue that undertaking

 the specific investigatory steps contemplated by Plaintiffs would pose an undue burden, asserting

 it would take approximately 23,580 hours to recreate e-mail accounts for the 9,128 independent

 contractors who have worked for Defendants since September 30, 2011. Doc. No. 69 at 12-13.

 Thus, Defendants request that the Motion be denied. Doc. No. 69 at 16.

          In support of their argument that they conducted a thorough investigation, Defendants

 attach the affidavit of James L. Jackson, USH Advisors’ general counsel (the “Jackson Affidavit”).

 Doc. No. 69-1 at 1-5. In it, Jackson avers that he has investigated Plaintiffs’ claim of receiving

 an unsolicited fax since 2015. Id. at ¶¶ 6-7. Mr. Jackson states that, in response to Plaintiffs’

 written discovery requests, he consulted with: the Chief Marking Officer of USH Advisors, the

 Chief Financial Officer of USH Group, Ms. Goksu, James Hmielewski, and all eight (8) of USH

 Advisor’s current Regional Sales Leaders, who manage the field agents nationwide. Doc. No.

 69-1 at ¶¶ 8-9. Based upon his investigation, and the investigations made by the Defendants, Mr.

 Jackson is “unaware of any other unsolicited facsimile advertisements sent by any agents.” Id. at

 ¶ 9. Mr. Jackson avers that Ms. Goksu acted alone and without authorization from anyone. Id.

 at ¶ 10. Thus, Defendants dispute the statement in Ms. Goksu’s affidavit that Mr. Hmielewski

 approved of her sending the unsolicited Facsimile. Id. at ¶ 10. Moreover, Mr. Jackson maintains

 that “[n]o facsimiles or other facsimiles . . . were determined to be reasonably within the

 [Defendants’] custody, possession or control.” Id. at ¶ 11. Mr. Jackson states that the only




 2
    Throughout their written discovery requests, Plaintiffs define “Facsimile” and “Other Facsimile” as follows.
 Facsimile is defined, as it is herein, as “the Document attached . . . to the [C]omplaint.” See generally, Doc. No. 61-
 2 at 17. Other Facsimiles is defined as: “Any document transmitted [after September 30, 2011] by or on behalf of
 [the Defendants] to a telephone facsimile machine that promoted [Defendants’] products or services or requested the
 recipient contract a licensed [local agent of Defendants].” Doc. No. 61-2 at 17. The Court notes that, as defined,
 Other Facsimiles is not limited in any way to unsolicited facsimiles which fail to contain the opt-out notice under 47
 U.S.C. § 227(a)(4) or 47 C.F.R. §§ 64.1200(a)(4)(iii)-(iv).

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 unsolicited facsimile discovered during the investigation was the Facsimile attached to the

 Complaint. Id.3

         In support of their argument that undertaking the investigation requested by Plaintiffs

 would be an undue burden, the Jackson Affidavit provides that there are 9,128 independent

 contractor agents in 31 states who have worked for the Defendants since September 30, 2011, and

 many of them are no longer with the Defendants. Doc. No. 69-1 at ¶ 13. Defendants also provide

 the affidavit of Terry Shottenkirk, USH Advisors’ Computer Network Engineer. Doc. No. 69-7

 at 1-5. Mr. Shottenkirk avers that he was asked to search the email account of Ms. Goksu and,

 because she was no longer with the Defendants, in order to perform a keyword search, he was

 forced to recreate her email account from Defendants’ backup systems.                         Id. at ¶ 6.      Mr.

 Shottenkirk details the many steps he took to recreate Ms. Goksu’s email account and states it took

 him approximately two hours and thirty-five minutes to accomplish that task. Id. at ¶¶ 7-13. Mr.

 Shottenkirk opines that it would take him approximately the same amount of time to recreate email

 accounts for each employee, agent or independent contractor working for Defendants since

 September 2011. Id. at ¶ 13. Since there are 9,128 former employees, agents, or independent

 contractors, Mr. Shottenkirk states it would take approximately 23,580 hours to recreate those

 email accounts in order to perform keyword searches.                    Doc. No. 69-7 at ¶¶ 14-15.             Mr.

 Shottenkirk further avers that even if twelve 12 fulltime, experienced information and technology




 3
   Mr. Jackson acknowledges that the investigation did not “include searches of all [Defendants’] current and former
 employee, agent, and contractor email addresses dating back to September 2011 for evidence of any communications
 with third-party facsimile broadcasting companies, nor did the investigation described above include contacting each
 current and former . . . employee, agent and contractor since September 2011 by email or phone to ask whether each
 individual ever engaged in facsimile broadcasting. The [Defendants] have no reason to believe that any other
 independent agents have ever sent a fax blast.” Id. at ¶ 14.

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 employees worked on that project, it would take a full year to complete the task. Doc. No. 69-7

 at ¶¶ 14-16.

         On July 15, 2016, with leave of Court, Plaintiffs filed a reply (the “Reply”). Doc. No. 73.

 In it, Plaintiffs withdraw their request to have Defendants search the email accounts of all former

 employees, agents and independent contractors, but they “reserve the right to revisit the issue.”

 Doc. No. 73 at n.4. Instead, Plaintiffs now request that Defendants search the email accounts of

 all current employees, agents, and independent contractors for responsive documents and

 information. Doc. No. 73 at 3-4. Additionally, Plaintiffs request that Defendants contact all

 current and former employees, agents, and independent contractors, inquiring whether they ever

 sent fax advertisements since September 2011. Doc. No. 73 at 4-5.

 II.     ANALYSIS.

         A. Discovery Generally.

         Parties may obtain discovery on “any nonprivileged matter that is relevant to any party’s

 claim or defense and proportional to the needs of the case, considering the importance of the issues

 at stake in the action, the amount in controversy, the parties’ relative access to relevant information,

 the parties’ resources, the importance of the discovery in resolving the issues, and whether the

 burden or expense of the proposed discovery outweighs its likely benefit.” Fed. R. Civ. P.

 26(b)(1). A party is entitled to the facts relevant to the litigation. Dunkin’ Donuts, Inc. v. Mary’s

 Donuts, Inc., 206 F.R.D. 518, 520 (S.D. Fla. 2002). However, “discovery under the Federal Rules

 of Civil Procedure ‘is intended to narrow the scope of the issues and prevent surprise at trial; it is

 not intended to allow a plaintiff to go on a fishing expedition to see if the speculative complaint

 that he has filed has any basis in fact.’” Centrifugal Air Pumps v. TCS Obsolete, LLC, No. 6:10-




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 cv-820-Orl-31DAB, 2011 WL 1627167, at *2 (M.D. Fla. Apr. 29, 2011) (quoting Lazarre v.

 JPMorgan Chase Bank, N.A., 780 F. Supp. 2d 1320, 1329 n.16 (S.D. Fla. 2011).

          The party seeking discovery has the threshold burden of demonstrating that the discovery

 requested is relevant. Zorn v. Principal Life Ins. Co., 2010 WL 3282982, at *2 (S.D. Ga. Aug.

 18, 2010) (citing Canada v. Hotel Development-Texas, Ltd., 2008 WL 3171940, at *1 (N.D. Tex.

 July 30, 2008)). Relevant information need not be admissible at trial, but rather discovery must

 be “proportional to the needs of the case.” Fed. R. Civ. P. 26(b)(1). 4 “The discovery process is

 designed to fully inform the parties of the relevant facts involved in their case.” U.S. v. Pepper’s

 Steel & Alloys, Inc., 132 F.R.D. 695, 698 (S.D. Fla. 1990) (referencing Hickman v. Taylor, 329

 U.S. 495, 501 (1947)). “[A] party demanding discovery is required to set forth its requests simply,

 directly, not vaguely or ambiguously. . . .” Treister v. PNC Bank, 2007 WL 521935, at * 2 (S.D.

 Fla. Feb. 15, 2007).

          B. Unverified Interrogatories.

          As set forth above, Defendants’ answers to Plaintiffs’ interrogatories are unsigned and

 unverified. See supra p. 4; Doc. No. 61-1 at 1-3, 9-17, 22-26. Rules 33(b)(3) and (5), Federal

 Rules of Civil Procedure, require that all interrogatories be answered under oath and signed by the

 person answering them. Fed. R. Civ. P. 33(b)(3) and (5). While Defendants state that they have

 now served verified answers to interrogatories (Doc. No. 61 at n.1), there is no authority for the

 proposition that a party may serve unverified and unsigned interrogatories only to later substitute




 4
   Demonstrating relevance progresses in layers. “When the discovery sought appears relevant on its face, the party
 resisting it must show the lack of relevance by demonstrating that it: (1) does not come within the broad scope of
 relevance as defined under discovery rule; or (2) is of such marginal relevance that the potential harm the discovery
 may cause would outweigh the presumption in favor of broad disclosure. When relevancy of a discovery request is
 not apparent on the face of the request, then the party seeking discovery has the burden to show its relevancy.” Zorn,
 2010 WL 3282982, at *2 n. 3 (S.D. Ga. Aug. 18, 2010) (citing Transcor, Inc. v. Furney Charters, Inc., 212 F.R.D.
 588, 591 (D. Kan. 2003)).

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 sworn and signed interrogatories at a time of that party’s choosing. See Wilson v. Farris, 6:07-

 cv-1293-Orl-28KRS, 2008 WL 2695641, at *1 (M.D. Fla. July 2, 2008) (granting motion to

 compel where interrogatories were unsigned and unverified).       Therefore, the unsigned and

 unverified answers to interrogatories are a nullity. Because Defendants failed to timely serve

 signed and sworn answers to Plaintiffs’ interrogatories, any objections they may have raised are

 waived except for the attorney-client privilege and work product doctrine. See Fed. R. Civ. P.

 33(b)(4). Accordingly, the Motion is granted to the extent that on or before August 2, 2016,

 Defendants shall serve Plaintiffs with full and complete sworn answers to all of Plaintiffs’

 interrogatories, signed by the person who answers them.

        C. Requests for Production to USH Advisors.

        Plaintiffs challenge USH Advisors’ responses to: Plaintiffs’ First Request for Production

 (“RFP”) Nos. 3-4, and 12; and Plaintiffs’ Second RFP No. 2. Doc. No. 61 at 3-4, 16-19.

        Plaintiffs’ First RFP No. 3 requests: “Please produce all Facsimiles and Other

 Facsimiles.” Doc. No. 61-1 at 4. USH Advisors’ response states: “As for ‘Facsimiles,’

 none other than what was received from Plaintiffs in discovery. As to ‘Other Facsimiles,’ none.”

 Doc. No. 61-1 at 4. In the Motion, Plaintiffs argue that USH Advisors should be compelled to

 produce a copy of the Facsimile, which Plaintiffs attached to the Complaint, and Plaintiffs find

 incredulous USH Advisors’ assertion that there are no documents in its possession, custody or

 control of “Other Facsimiles” Doc. No. 61 at 14-16. In his affidavit, Mr. Jackson avers that

 the only Facsimile the Defendants “have located is the single facsimile the Named Plaintiffs

 produced to the [Defendants] after making their claim – it was not independently located during

 the [Defendants’] investigation since the [Defendants] never had been previously provided with

 this facsimile.” Doc. No. 69-1 at ¶ 11. Thus, USH Advisors asserts that, except for what was



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 attached to the Complaint, there is no Facsimile in its possession, custody, or control. Id.

 Accordingly, USH Advisors’ response of “none” is a full and complete answer to Plaintiffs’ First

 RFP No. 3.5

         Despite their incredulity, Plaintiffs have failed to come forth with any factual support for

 their speculative argument that other agents across the country must have sent similar facsimiles.

 see also Centrifugal Air Pumps, No. 6:10-cv-820-Orl-31DAB, 2011 WL 1627167, at *2 (M.D.

 Fla. Apr. 29, 2011) (requiring factual basis for discovery). Moreover, as set forth above (see

 n.2), Plaintiffs’ definition of Other Facsimiles is so broad that it is not even limited to unsolicited

 facsimiles that do not contain the statutory and regulatory required opt-out notices. See Doc.

 No. 61-2 at 17. Accordingly, the Motion will be denied as to Plaintiffs’ First RFP No. 3 to USH

 Advisors.

         Plaintiffs’ First RFP No. 4 to USH Advisors seeks production of all documents related to

 the Facsimile and Other Facsimiles produced in response to their First RFP No. 3. Doc. No. 61-

 2 at 17-18. USH Advisors’ response refers back to its response to the First RFP No. 3, i.e.,

 stating that no such documents exist in USH Advisors’ possession, custody, or control. Doc.

 No. 61-1 at 5. Again, USH Advisors’ response is full, complete and binding, and Plaintiffs have

 failed to come forth with any factual basis for their speculative belief that responsive documents

 must exist. Accordingly, the Motion will be denied as to Plaintiffs’ First RFP No. 4 to USH

 Advisors.

         USH Advisors also answered “none” to Plaintiffs’ First RFP No. 12, which seeks “all

 documents that relate to the transmission of the Facsimile or Other Facsimiles by a Third Party




 5
   Although Plaintiffs argue USH Advisors should be ordered to produce the Facsimile USH Advisors received from
 Plaintiffs (Doc. No. 61 at 14-16), the Court sees no purpose in doing so.

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 Fax Broadcaster, Agent, or Third Party on Your behalf.” Doc. No. 61-1 at 6. For the same

 reasons set forth above with respect to First RFP Nos. 3 and 4, the Motion will be denied as to

 First RFP No. 12 to USH Advisors.

        Plaintiffs’ Second RFP No. 2 seeks:

                Please produce all electronic mail sent or received by UHA
                Agents (defined above) through their "@ushadvisors.com" email
                accounts to or from any Third Party Fax Broadcaster or other
                Third Party authorized to send fax transmissions that relate or refer
                to transmission of fax advertisements to recipients, or that in any
                way relate to the sending of fax advertisements.

 Doc. No. 61-1 at 18. USH Advisors response provides:

                Objection, overbroad, immaterial and unduly burdensome.
                Plaintiffs are attempting to utilize discovery for a prohibited
                "fishing expedition." See, e.g., Shannon v. Albertelli Firm, P.C.,
                610 Fed. Appx. 866 (11th Cir. 2015); Yellow Pages Photos, Inc.
                v. Ziplocal, LP, 795 F. 3d 1255 (11th Cir. 2015); Salvato v. Miley,
                2013 WL 2712206 (M.D. Fla. Jun. 11, 2013); Jackson v. BellSouth
                Telecommunications, Inc., 2002 WL 34382751 (S.D. Fla. Jun. 4,
                2002); see also Thermoset Corp. v. Bldg. Materials Corp. of Am.,
                2014 WL 6473232 (S.D. Fla. Nov. 18, 2014); Solyom v. World
                Wide Child Care Corp., 2015 WL 1886274 (S.D. Fla. Apr. 16,
                2015). To date, Plaintiffs have identified one former independent
                UHA agent who sent one facsimile "blast" allegedly in violation of
                the TCPA, and are now seeking discovery relating to other current
                and former independent agents (there are over 100) even though
                there is no evidence remotely suggesting that other independent
                agents sent any fax "blasts" in violation of the TCPA. Without
                waiving said objection, UHA is not aware of any other current or
                former independent agents, other than the one identified in this
                case, who have sent any faxes in violation of the TCPA during
                the class period identified in the operative complaint, but UHA
                will attempt to investigate Birsen Goksu's UHA e-mail account
                even though she testified her personal (Gmail) account was the one
                she used If] or the most part . . ." during the time she was associated
                with UHA.

 Doc. No. 61-1 at 19. In their Reply, Plaintiffs state that in light of Mr. Shottenkirk’s affidavit,

 Plaintiffs “are withdrawing their request to have the email accounts of former agents searched.”



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 Doc. No. 73 at 4. Second RFP No. 12 appears to include the email accounts of both former and

 current agents of USH Advisors. Doc. No. 61-1 at 18. USH Advisors have demonstrated that

 searching the email accounts of all 9,128 agents since September 2011 would be unduly

 burdensome. Doc. No. 69-1. Moreover, Plaintiffs have failed to establish a factual basis for their

 belief that agents other than Ms. Goksu-Sovlak sent unsolicited facsimiles, which did not contain

 the opt-out notice. If Plaintiffs wish to have USH Advisors search the email accounts of current

 agents, then it should serve such a request. Accordingly, the Motion is denied as to Second RFP

 No. 12.

           D. First RFP to USH GROUP Nos. 3 and 9.

           Plaintiffs’ First RFP Nos. 3 and 9 to USH Group seek all Facsimiles and Other Facsimiles,

 and all documents, which reflect USH Group’s “authorization to any Third Party Fax Broadcaster

 to transmit the Facsimile or Other Facsimiles.” Doc. No. 61-1 at 27, 29. USH Group responds

 by stating there is no Facsimile or Other Facsimiles other than the Facsimile Defendants received

 in discovery from Plaintiffs, and there are no documents responsive to RFP No. 9. Id. USH

 Group’s responses are full, complete, and binding on USH Group. Again, Plaintiffs fail to

 provide anything more than wholly conclusory statements for the proposition that USH Group

 failed to diligently search for all responsive documents in its possession, custody, or control. See

 Doc. Doc. No. 61 at 2, 7, 12-13. Accordingly, the Motion will be denied with respect to Plaintiffs’

 First RFP to USH Group Nos. 3 and 9.6




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   Since Defendants fully and completely responded to all RFPs at issue and Plaintiffs have failed to come forth with
 anything more that pure speculation for their assertion that Defendants’ responses are not accurate, there is no reason
 to consider whether Defendants should be directed to perform the particular investigatory procedures Plaintiffs request
 in the Motion.

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        E. Reasonable Expenses.

        Pursuant to Rule 37(a)(5)(A), Federal Rules of Civil Procedure, Plaintiffs request an award

 of reasonable expenses incurred in bringing the Motion. Doc. No. 61 at 2. Rule 37(a)(5)(A)

 requires the Court to award reasonable expenses to the moving party if the Motion is granted,

 unless the movant did not attempt to resolve the motion with the opposing party prior to filing the

 Motion, the opposing party’s nondisclosure was substantially justified, or if other circumstances

 make an award of expenses unjust. Fed. R. Civ. P. 37(a)(5)(A)(i)-(iii). In this case, Plaintiffs

 are entitled to verified answers to all of their interrogatories, but the majority of the Motion has

 been denied. Accordingly, pursuant to Rule 37(a)(5)(A)(iii), Federal Rules of Civil Procedure,

 the Court finds that an award of expenses would be unjust and, therefore, the Court declines to

 award expenses in this case.

 III.   CONCLUSION.

        Based on the foregoing, it is hereby ORDERED that:

        1. The Motion (Doc. No. 61) is GRANTED to the extent that on or before AUGUST 2,

            2016, Defendants shall serve sworn and signed answers to all of Plaintiffs’

            interrogatories and all of Defendants’ objections to the same have been waived;

            and

        2. The Motion (Doc. No. 61) is otherwise DENIED.

        DONE and ORDERED in Orlando, Florida on July 25, 2016.




 Copies furnished to:



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 Counsel of Record
 Unrepresented Parties




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